AO 91 (Rev. 11/11) Criminal Complaint

 
   

 

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UNITED STATES DISTRICT COURT LED
for the APR 15 2018

Southern District of Texas
Devic J. Sradley, Glekk

 

 

United States of America )
v 2-M\
Michael Angelo HERRERA )  CaseNo. AA / q- O82
Use )
YoR: 1982
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 12/17/2015 and 03/17/2016 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 21 U.S.C. Section 8414(A)(1) Possession with the intent to distribute more than 5 kilograms of cocaine, a
Title 18 U.S.C. Section 2 schedule I! controlled substance, Aiding and Abetting, Conspiracy to Launder
Title 18 U.S.C. 1956 Money

This criminal complaint is based on these facts:

See attached "Affidavit"

@ Continued on the attached sheet.

 

 

Ce Complainant’s signature
Gfiprrneke fo flung Ronathan Persaud, DEA Task Force Officer

fw Si x, Sc aarF Printed name and title

Sworn to before me and signed in my presence.

Date: _ fferls ZO/ 7 (eX C5 Os

Jt ,2Z0 a iA, Judge's signature

 

City and state: McAllen, Texas Peter E.Ormsby , U.S. Magistrate Judge

Printed name and title

 

 
ATTACHMENT A

I, Ronathan Persaud, Task Force Officer of the United States Drug Enforcement Administration

(DEA), being duly sworn, depose and state the following:

1. I am an "investigative or law enforcement officer of the United States" within the
meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is empowered by law
to conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516. I
have been deputized by the Drug Enforcement Administration (hereinafter DEA) since November
2016 and a license peace officer with the Harris County Sheriffs Office, in Houston, Texas, for
Eleven (11) years prior to becoming a Task Force Officer with DEA. I am currently assigned to
the DEA Houston Division Office. During my time as a law enforcement officer, I have
participated in investigations of unlawful narcotics distribution and have conducted or participated
in physical and electronic surveillances, undercover transactions, the execution of search warrants,
debriefing of informants and reviews of taped conversations and drug records. Through my
training, education and experience, I have participated in and have conducted investigations that
have resulted in the arrests of individuals who have smuggled, received, and distributed controlled
substances, as well as the seizure of illegal drugs and proceeds derived from the sale of those illegal
drugs. In addition, I have conducted, in connection with these and other cases, follow-up
investigations concerning the concealment of narcotics-produced assets, money, bank records, etc.,
and the identification of co-conspirators through the use of ledgers, telephone bills and records,
and photographs, as related to drug trafficking.

2. The statements made in this Affidavit are based in part on: (a) my personal

participation in this investigation; (b) information provided to me by other law enforcement
officers; and (c) the training and experience of myself and other law enforcement agents and
officers.

3. In early September 2015, Agents/Officers recruited Michael Angelo HERRERA
(hereinafter HERRERA) as a Confidential Source (CS) to assist DEA personnel regarding an
ongoing investigation. It was revealed through the course of the investigation that HERRERA
was in direct telephonic contact with Juan Alberto VILLALOBOS (hereinafter VILLALOBOS)
who was a target and leader within a Drug Trafficking Organization (DTO) and a focus of a DEA
Houston investigation. Based on information provided by HERRERA, on December 11, 2015,
United States District Judge Sim Lake, Southern District of Texas, signed an Order authorizing
the interception of wire communications to and from a Sprint cellular telephone, assigned number
281-865-2005, and used by VILLALOBOS. On December 12, 2015, the court-authorized
interceptions of wire communications to and from said telephone commenced.

4. On December 17, 2015, while reviewing intercepted calls between HERRERA and
VILLALOBOS, VILLALOBOS advised HERRERA that he (VILLALOBOS) had “20” that
VILLALOBOS was taking to HERRERA, and instructed HERRERA to locate a buyer, later
determined to be DeAllen NETTLES (hereafter NETTLES) who subsequently became a target of
the investigation. HERRERA had previously identified NETTLES as a freelance/independent
courier within the organization responsible for receiving cocaine and currency from
VILLALOBOS and later distributing said cocaine and currency to buyers/sellers in Houston,
Texas, Chicago, Illinois and other locations throughout the United States.

5. On December 18, 2015, Agents/Officers debriefed HERRERA in Houston, Texas.
During the debriefing, HERRERA informed Agents/Officers that VILLALOBOS delivered 23

kilograms of cocaine to HERRERA, and instructed HERRERA to locate a buyer for the cocaine.
HERRERA told Agents/Officers that he in turn released the cocaine to NETTLES, who advised
the cocaine would be transported to Chicago, Illinois to sell. It should be noted that HERRERA
conducted this transaction outside of the knowledge of controlling Agents/Officers. HERRERA
also informed agents of two (2) additional occasions where VILLALOBOS provided HERRERA
with kilogram quantities of cocaine outside of the knowledge of Agents/Officers. HERRERA
stated that in all three above noted occasions, HERRERA was provided with the cocaine and
HERRERA subsequently provided the cocaine to NETTLES. HERRERA stated NETTLES then
transported the cocaine loads to the Chicago, Illinois area to sell. Upon discovering that
HERRERA conducted the aforementioned narcotics transactions outside the knowledge of
controlling Agents/Officers, HERRERA no longer received financial compensation or
government benefits for any information provided regarding the VILLALOBOS DTO.

6. On Thursday, March 15, 2016, at approximately 3:06 p.m., DEA Houston Special
Agent (SA) Amin Rosado conducted a debriefing of HERRERA concerning the recent activities
VILLALOBOS. During the telephonic debriefing, HERRERA advised SA Rosado that the last
remaining load of United States Currency (USC) derived from the sale of the 23 kilograms of
cocaine in Chicago by NETTLES was being transported from Chicago, Illinois to Houston, Texas.
HERRERA estimated the USC to be in the amount $90,000.00.

7. On Thursday, March 17, 2016, Agents/Officers conducted a debriefing of
HERRERA, concerning the recent activities of VILLALOBOS, hereafter VILLALOBOS.
HERRERA advised Agents/Officers that on or about March 10, 2016, VILLALOBOS DTO
member Uriel MAYORQUIN-Carrillo (hereinafter MAYORQUIN-Carrillo) called HERRERA
asking about the remaining $90,000.00. It should be noted that MAYORQUIN-Carrillo was

believed to be in Mexico during this conversation. While communicating with MAYORQUIN-
Carrillo, MAYORQUIN-Carrillo allegedly passed the cellular telephone to DTO head Santiago
VILLALOBOS III (hereafter S. VILLALOBOS III), who advised HERRERA that he still owed
$117,000.00 not $90,000.00. HERRERA claimed that he advised VILLALOBOS III that
NETTLES only owed $90,000.00. According to HERRERA, S. VILLALOBOS III advised
HERRERA that he (S. VILLALOBOS IID did not care what HERRERA believed and that the
remaining debt was $117,000.00. HERRERA further stated S. VILLALOBOS III then advised
HERRERA that he needed to pay at least half of the remaining debt prior to receiving any more
“work” (work is a reference to the transfer/purchase of kilogram quantities of cocaine). S.
VILLALOBOS III also advised HERRERA that if half of the debt was paid, HERRERA could
“work off” the remaining debt.

8. Agents/Officers then questioned HERRERA, why S. VILLALOBOS III believed
that the remaining debt was $117,000.00 and not $90,000.00. HERRERA claimed that
VILLALOBOS must have been “skimming off the top” as drug proceeds were being delivered to
S. VILLALOBOS IIL.

9. HERRERA informed Agents/Officers that NETTLES was having trouble selling
the remaining three (3) kilograms of cocaine from the 23 kilograms that was previously given to
him (NETTLES) in December 2015. Furthermore, NETTLES requested to bring back the “bad
dope’, but according to HERRERA, MAYORQUIN-Carrillo advised HERRERA, that the DTO
did not want the cocaine returned. HERRERA further advised Agents/Officers that NETTLES
then gave the three (3) kilograms of cocaine to an unknown target in the Chicago area.
HERRERA claimed that NETTLES had not heard from the unknown target and/or was unable to

locate the unknown target in order to pay the remaining $90,000.00.
10. On March 17, 2016, at approximately 5:41 p.m., SA Rosado contacted HERRERA
via text, informing HERRERA that the aforementioned $90,000.00 debt must be derived from
NETTLES or the NETTLES DTO. HERRERA was further advised that personal funds could not
be used to repay the debt to the VILLALOBOS DTO. At approximately 6:36 p.m., HERRERA
contacted SA Rosado advising that he/ she “didn’t want to lie anymore” and stated that “NETTLES
already paid $90,000.00 for the remaining debt” that was owed to the VILLALOBOS DTO.
HERRERA further stated that he “took possession of the money therefore no debt was going to
be paid”. HERRERA further advised SA Rosado that after obtaining the currency from
NETTLES, he spent $50,000.00 and was still in possession of approximately $40,000.00 of the
original $90,000.00. HERRERA was then asked what he spent the $50,000.00 on. HERRERA
claimed that he had unsettled debts that were owed to different organizations prior to officially
being utilized by Agents/Officers. SA Rosado then notified HERRERA that he/ needed to
relinquish the remaining $40,000.00 to Agents/Officers.

11. Thus, on March 17, 2016, at approximately 8:11 p.m., Agents/Officers met with
HERRERA at 7300 W. Greens Rd. Houston, Harris County, Texas. Upon meeting HERRERA,
Agents/Officers were informed by HERRERA that he was in possession of USC that had been
received from NETTLES. HERRERA further informed Agents/Officers that the USC was the
proceeds from the aforementioned narcotics HERRERA debt owed to the VILLALOBOS DTO
for cocaine that was sold in Chicago, Illinois. Agents/Officers then documented the termination of
HERRERA.

12. Your Affiant believes that there is probable cause that on or about December 17,
2015 and March 17, 2016, in the Southern District of Texas, HERRERA violated Title 2 USL.,

Section 841(A)(1), Possession with the intent to distribute more than five (5) kilograms of cocaine,
a schedule II controlled substance and Title 18 U.S.C., Section 2, Aiding and Abetting and

Conspiracy to Launder Money, in violation of Title 18 U.S.C §1956.

 

 

 

Ronathan Persaud ——
Task Force Officer
Drug Enforcement Administration

SUBSCRIBED AND SWORN TO before me this _/ $ 2 day of March, 2019 and I find probable
cause.

Cw a
PETER E. ORMSBY
United States Magistrate Judge
Southern District of Texas

 
